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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  LONDON DIVISION
                                  (Electronically Filed)

DAVID WILSON, as Administrator      )
Of the Estate of Lisa Noble,        )
Deceased,                           )
               Plaintiff            )
                                    )               Civil Action No.: 6:17-157-KKC
v.                                  )
                                    )
BEACON TRANSPORT, LLC, and          )
TERRAN COOPER,                      )
            Defendants              )
____________________________________)


                  NOTICE OF INSPECTION PURSUANT TO RULE 34

       Comes now the Defendants, by counsel, and hereby notifies all parties that pursuant to

Rule 34 of the Federal Rules of Civil Procedure, an inspection will take place on Wednesday,

March 14th, 2018, at 10:30 a.m. EST, of the following tangible items:

       1. Any and all mobile or cellular phones, tablets, laptops, still and/or video cameras to

           which the Plaintiff, Lisa Noble, had access on January 5, 2017, and in particular the

           mobile or cellular phone or any other devices the Plaintiff, Lisa Noble, used to take

           photographs and/or video at the scene of the collision which is the subject matter of

           this litigation. Appropriate charging devices and access codes should be produced so

           that the data from the devices can be fully downloaded.

       Said inspection shall take place at Jewell Law Office, PLLC at 138 Court Square,

Barbourville, Kentucky, for purposes of discovery and all purposes permitted by the Federal

Rules of Civil Procedure.
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       The Defendants will have an IT expert available to inspect the requested devices and will

download data from said devices.

       This the 12th day of March, 2018.

                                            JUDD, SATTERFIELD & ASSOCIATES, PLLC
                                            869 Broadway Ave
                                            P.O. Box 51093
                                            Bowling Green, KY 42102
                                            (270) 904-4141
                                            (888) 590-2842

                                            /s/ Harlan E. Judd, III
                                            __________________________________________
                                            Harlan E. Judd, III
                                            Counsel for Defendants

                               CERTIFICATE OF SERVICE

       This is to certify that a true and exact copy of the foregoing was placed in the U.S. Mail
addressed to the following:

Timothy D. Lange
Benson, Risch & Lange, PLLC
401 W. Main Street, Ste 2150
Louisville, KY 40202

D. Randall Jewell
Jewell Law Office, PLLC
P.O. Drawer 670
Barbourville, KY 40906

Billy J. Taylor
Taylor Law Office, PLLC
110 Knox Street, Ste A
Barbourville, KY 40906

       This the 12th day of March, 2018.

                                            /s/ Harlan E. Judd, III
                                            __________________________________________
                                            Harlan E. Judd, III
                                            Counsel for Defendants




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